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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:88-cr-01007-MP-AK

RICHARD KEITH WILLIAMS,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 1194, Motion for Sentence Reduction, filed by

Defendant Richard Williams. By prior order, the Government was directed to file a response to

Defendant’s motion, and has done so. Doc. 1202. In its response, the Government argues that

Defendant’s motion has already been decided on its merits, and that the Supreme Court’s

decision in United States v. Booker, 543 U.S. 220, 124 S.Ct. 2519 (2005), does not provide a

jurisdictional basis for the Court to consider Defendant’s motion. As the Government points out,

the Eleventh Circuit has held that “Booker is inapplicable to § 3582(c)(2) motions.” United

States v. Moreno, 421 F.3d 1217, 1220 (11th Cir. 2005). After reviewing Defendant’s motion

and the Government’s response, the Court agrees with the Government that Booker does not

provide Defendant with a basis for relief. Therefore, Defendant Williams’ Motion for Sentence

Reduction, Doc. 1194, is denied.


       DONE AND ORDERED this              14th day of November, 2007


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
